-20-cr- -JCM- ument 7 Filed 02/04/¢6-—Pgge-t-ofJ
Case 2:20-cr-00018-JCM-EJY Doc 1 -____ FEED _—_ RECEIVED

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COUNSEL/PARTIES OF RECORD

UNITED STATES DISTRICT COURT FEB -4 2999

DISTRICT OF NEVADA
CLERK US DISTRICT COURT

NEVADA

IN THE MATTER OF THE PARTIAL MINUTES OF COURK,. DEPUTY

REPORTS OF THE SPECIAL GRAND JURY
THE April 17, 2019 TERM. 19-01

DATE: February 4, 2020 @ 11:55 am. — 11:59 a.m.

PRESENT: The Honorable Cam Ferenbach , U.S. Magistrate Judge.

DEPUTY CLERK: Jerry Ries REPORTER: _ Bonnie Terry
UNITED STATES ATTORNEY: Allison Reese ss COURTROOM: 3D

A roll call of the Grand Jury is taken with 20 members present for deliberations which constituted a quorum.
The foreperson of the Grand Jury presented its partial report and indictments.

On the motion of the United States Attorney, IT IS ORDERED that the said report and indictments be filed.
There is 1 SEALED indictment(s).

On the motion of the United States Attorney, IT IS ORDERED that the terms of release as to each defendant are
fixed as indicated and that Bench Warrants issue where indicated.

2:20-cr-018 2 SEALED DEFENDANTS 2 WARRANTS
2:18-cr-95 APG NJK EVER ANTONIO ALVARADO LOCAL FEDERAL CUSTODY
SECOND SUPERSEDING CORONADO
Aka: Ernie
2:20-cr-019 BARRY ALLEN GABELMAN LOCAL FEDERAL CUSTODY

2:20-mj-16 BNW

2:20-cr-020 ANTHONY ALAN PHARES SUMMONS
2:20-mj-20 BNW

IT IS ORDERED that the Arraignment & Plea as to: 2:18-cr-95; 2:20-cr-019 and 2:20-cr-20 will be held on

Tuesday, February 11, 2020 @ 2:30 p.m. before MAGISTRATE JUDGE DANIEL J. ALBREGTS in
Courtroom 3A.

The Arraignment and Plea will be held at the time of the Initial Appearance.

DEBRA KEMPI, Clerk
United States District Court

/S/ Jerry Ries

Deputy Clerk

